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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

KAREN SAUNDERS,                                  )
                                                 )
                      Plaintiff,                 )    Case No. 1:17-cv-00335
                                                 )
       v.                                        )
                                                 )
DYCK O’NEAL, INC.,                               )    Hon. Judge Gordon J. Quist
                                                 )    Hon. Mag. Judge Ray Kent
                      Defendant.                 )

                    PLAINTIFF’S MOTION TO COMPEL PRODUCTION

       Pursuant to Fed. R. Civ. P. 26, 33, 34, 36, and 37, Plaintiff Karen Saunders respectfully

moves that the Court enter an order: (1) compelling Defendant Dyck O’Neal, Inc. (“Dyck

O’Neal”) to produce full and complete responses to Plaintiff’s Second Set of Discovery Requests

to Defendant; (2) deeming DONI to have waived objections; (3) deeming Plaintiff’s requests for

admission admitted; and (4) granting such other and further relief deemed reasonable and just.

       This Motion is based on the Brief in Support and all arguments and legal authorities and

exhibits thereto.


Dated: October 30, 2018                              Respectfully submitted,

                                                     KAREN SAUNDERS

                                                     By: s/ Alexander H. Burke

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                                     PROOF OF SERVICE

       I hereby certify that, on October 30, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                              s/ Alexander H. Burke




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